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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                                             )
In re:                                                       )
                                                             )   Chapter 11
                                                 1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                           )
                                                             )   Case No. 19-34054 (SGJ)
                          Debtor.                            )
                                                             )
                                                             )
HIGHLAND CAPITAL MANAGEMENT, L.P.                            )
                                                             )
                          Plaintiff,                         )
vs.                                                          )   Adv. Pro. No. 20-03190 (SGJ)
                                                             )
JAMES D. DONDERO,                                            )
                                                             )
                          Defendant.                         )
                                                             )

                                 CERTIFICATE OF SERVICE

      I, Vincent Trang, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On January 27, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service lists attached
hereto as Exhibit A and Exhibit B; and via First Class Mail upon the service lists attached
hereto as Exhibit C and Exhibit D:

      •   Notice of Hearing [Docket No. 74]

Dated: February 1, 2021
                                                /s/ Vincent Trang
                                                Vincent Trang
                                                KCC
                                                222 N Pacific Coast Highway, Suite 300
                                                El Segundo, CA 90245



1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters
and service address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX
75201.
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                                                                              Exhibit A
                                                                        Core/2002 Service List
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                                                                         Core/2002 Service List
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                                                                          Core/2002 Service List
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                                            The Mark and Pamela Okada Family Trust -
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                                            The Mark and Pamela Okada Family Trust -
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                              EXHIBIT B
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                              EXHIBIT C
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                              EXHIBIT D
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        Description             CreditorName                   CreditorNoticeName                          Address1                   City    State    Zip
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